Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 1 of 11 Page ID #:3007



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      FEATURES U.S., LLC, JAMES GRAY,
  8   and ETHAN GROSS
  9
 10                        UNITED STATES DISTRICT COURT
 11                       CENTRAL DISTRICT OF CALIFORNIA
 12
 13   PHILLIP MADISON JONES,                      Case No. 2:21-CV-05890-PA (SKx)
 14                  Plaintiff,                   Hon. Percy Anderson
 15                                               NOTICE OF MOTION AND
              v.                                  MOTION OF DEFENDANTS RT
 16                                               FEATURES U.S., LLC, JAMES
                                                  GRAY AND ETHAN GROSS TO
 17   20TH CENTURY STUDIOS, INC.;                 DISMISS PLAINTIFF’S FIFTH
      CREATIVE ARTISTS AGENCY, LLC;               COUNT FOR BREACH OF
 18   RT FEATURES; RT FEATURES U.S.               CONTRACT IN THE THIRD
      LLC, JAMES GRAY, AND ETHAN                  AMENDED COMPLAINT
 19   GROSS,                                      PURSUANT TO FED. R. CIV. P.
                                                  12(b)(6); MEMORANDUM OF
 20                  Defendants.                  POINTS AND AUTHORITIES
 21                                               [PROPOSED] ORDER FILED
                                                  CONCURRENTLY
 22
                                                  Date:           February 28, 2022
 23                                               Time:           1:30 p.m.
                                                  Courtroom:      9A
 24
 25
 26
 27
 28

                    MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 2 of 11 Page ID #:3008



  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2           PLEASE TAKE NOTICE that on February 28, 2022, at 1:30 p.m., or as soon
  3   thereafter as the parties may be heard, or at such other date and time set by the Court,
  4   before the Hon. Percy Anderson, United States District Court Judge, in Courtroom
  5   9A of the First Street U.S. Courthouse, located at 350 W. 1st Street, 9th Floor, Los
  6   Angeles, CA 90012, defendants RT Features U.S., LLC (“RTF”), James Gray
  7   (“Gray”), and Ethan Gross (“Gross”) (collectively, “Moving Defendants”) will and
  8   hereby do move under Fed. R. Civ. P. Rule 12(b)(6) to dismiss the Fifth Count for
  9   Breach of Implied Contract (“Fifth Count”) in Plaintiff’s Third Amended Complaint
 10   (“TAC”) (Dkt. No. 94)1 on the grounds that the Fifth Count fails to state a claim
 11   against them because it contains no allegations of contractual privity against them.
 12           On December 30, 2021, pursuant to Local Rule 7-3, counsel for the parties met
 13   and conferred telephonically concerning the grounds for this Motion but failed to
 14   resolve these issues absent the need for a Court ruling. See Stipulation filed January
 15   4, 2022 (Dkt. No. 92) (describing December 30, 2021 meet and confer session).
 16           This Motion is based upon this Notice and the attached Memorandum of Points
 17   and Authorities, the concurrently-submitted [Proposed] Order, all of the pleadings,
 18   papers and other materials on file in this action, and such argument, evidence and
 19   additional matters that may be presented at or before the hearing on this Motion.
 20
      Dated: January 24, 2022                     FOX ROTHSCHILD LLP
 21
 22                                               /S/ DAVID ARONOFF
                                                  David Aronoff
 23                                               Joshua Bornstein
                                                  Attorneys for Defendants
 24                                               20TH CENTURY STUDIOS, INC.,
                                                  RT FEATURES U.S., LLC, JAMES
 25                                               GRAY, and ETHAN GROSS
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        Plaintiff’s claim for Breach of Implied Contract is designated as “Count 5” although
      it is the fourth cause of action alleged in the TAC, which jumps from “Count 3” to
 28   “Count 5.” See TAC, pp. 30 & 31. Presumably, the claim was drafted in this manner
      because “Count 4” previously was dismissed with prejudice. See Dkt. No. 87.
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                     MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 3 of 11 Page ID #:3009



  1                                          TABLE OF CONTENTS
  2   I.      INTRODUCTION ........................................................................................... 1
  3   II.     RELEVANT BACKGROUND....................................................................... 2
  4   III.    PLAINTIFF’S FIFTH COUNT SHOULD BE DISMISSED AS TO THE
              MOVING DEFENDANTS BECAUSE NO PRIVITY IS ALLEGED .......... 3
  5
              A.       The Legal Standard for Dismissal Under Rule 12(b)(6) ...................... 3
  6
              B.       Plaintiff’s Idea Submission Claim Fails to Allege the Critical
  7                    Element of Privity Between Plaintiff and RTF, Gray or Gross ............ 4
  8   IV.     CONCLUSION ............................................................................................... 6
  9
 10
 11
 12
 13
 14
 15
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 22
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 26
 27
 28
                                                               i
                         MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 4 of 11 Page ID #:3010



  1
                                             TABLE OF AUTHORITIES
  2
  3                                                                                                                     Page(s)

  4   Federal Cases
  5   Ashcroft v. Iqbal,
  6      556 U.S. 662 (2009) ......................................................................................... 3, 4
  7   Bell Atlantic Corp. v. Twombly,
         550 U.S. 554 (2007) ......................................................................................... 3, 4
  8
  9   Benay v. Warner Bros. Ent.,
        607 F.3d 620 (9th Cir. 2010), .............................................................................. 5
 10
      Design Data Corp. v. Unigate Enter., Inc.,
 11
        No. C 12-4131 PJH, 2013 WL 360542 (N.D. Cal. Jan. 29, 2013) ....................... 5
 12
      Goodness Films, LLC v. TV One, LLC,
 13     No. CV 12-8688-GW(JEMX), 2013 WL 12306439 (C.D. Cal. Oct.
 14     21, 2013) ............................................................................................................... 4
 15
 16   California Cases
 17
      Chandler v. Roach,
 18     156 Cal. App. 2d 435 (1957) ................................................................................ 5
 19   Desny v. Wilder,
 20     46 Cal. 2d 715 (1956) ....................................................................................... 4, 5
 21   Div. of Labor Law Enforcement v. Transpacific Trans. Co.,
 22      69 Cal. App. 3d 268 (1977) .................................................................................. 6

 23   Faris v. Enberg,
        97 Cal. App. 3d 309 (1979) .................................................................................. 4
 24
 25   Friedman v. Friedman,
         20 Cal. App. 4th 876 (1993) ................................................................................. 6
 26
      Klekas v. EMI Films, Inc.,
 27      150 Cal. App. 3d 1102 (1984) .............................................................................. 4
 28
                                                                   ii
                           MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 5 of 11 Page ID #:3011



  1   Mann v. Columbia Pictures, Inc.,
  2     128 Cal. App. 3d 628 (1982) ............................................................................ 4, 5

  3   Marvin v. Marvin,
        18 Cal. 3d 660 (1976) ........................................................................................... 5
  4
  5   Rokos v. Peck,
        182 Cal. App. 3d 604 (1986) ............................................................................ 4, 5
  6
      Other Authorities
  7
  8   Fed. R. Civ. P. Rule 12(b)(6) ............................................................................. 1, 2, 3
  9   Fed. R. Civ. P. Rule 12(f) .......................................................................................... 2
 10
 11
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                                                                iii
                          MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 6 of 11 Page ID #:3012



  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.      INTRODUCTION
  3           This Motion is brought by defendants RT Features U.S., LLC (“RTF”), James
  4   Gray (“Gray”), and Ethan Gross (“Gross”) (“Moving Defendants”) under Fed. R.
  5   Civ. P. Rule 12(b)(6) to dismiss the Fifth Count for Breach of Implied Contract
  6   (“Fifth Count”) of Plaintiff’s Third Amended Complaint (“TAC”) 1 on the grounds
  7   that it fails to state a claim for relief against Moving Defendants. 2
  8           It is basic that contractual privity is an essential element of a claim for breach
  9   of an implied-in-fact contract for the sale of ideas, which is what the Fifth Count
 10   attempts to plead. Accordingly, in ruling on Moving Defendants’ previous motion
 11   to dismiss Plaintiff’s prior iteration of this claim in his First Amended Complaint
 12   (“FAC”), this Court granted the Motion (albeit with leave to amend), holding that the
 13   Fifth Count failed “to allege any facts showing an implied contract existed between
 14   Plaintiff and RTF … James Gray, or Ethan Gross.” See Order dated December 7,
 15   2021, p. 12 (Dkt. No. 87). As the Court explained, “[w]ithout allegations that
 16   Plaintiff met with RTF … James Gray, or Ethan Gross, Plaintiff lacks privity and his
 17   claim for breach of implied contract against them fails.” Id.
 18           However, Plaintiff’s TAC utterly fails to rectify the deficiency identified by
 19   the Court in its Order. Instead of alleging that Plaintiff was in privity with the
 20   Moving Defendants, the Fifth Count of the TAC is premised on allegations that
 21   Plaintiff purportedly was in privity with defendants 20th Century Studios, Inc. (“20th
 22   Century”) and Creative Artists Agency, LLC (“CAA”), and then additionally avers
 23   that 20th Century and CAA allegedly shared confidential information with RTF,
 24   1
        Plaintiff’s claim for Breach of Implied Contract is designated as “Count 5” although
 25   it is the fourth cause of action alleged in the TAC, which jumps from “Count 3” to
      “Count 5.” See TAC, pp. 30 & 31. Presumably, the claim was drafted in this manner
 26   because “Count 4” previously was dismissed with prejudice. See Dkt. No. 87.

 27
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       Plaintiff’s TAC purports to state claims against both RTF and “RT Features” which
      Plaintiff alleges is a Brazilian entity of unspecified kind. TAC ¶¶ 3-4. However, no
 28   such Brazilian “RT Features” entity apart from RTF exists, or has been duly served
      by Plaintiff, or had any connection with the motion picture Ad Astra.
                                                   1
                      MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 7 of 11 Page ID #:3013



  1   Gray and Gross and supposedly had the right and ability to supervise them. TAC ¶¶
  2   38-39, 84-86. But these allegations fail to plead privity between Plaintiff and the
  3   Moving Defendants directly. By definition, privity requires a direct relationship
  4   between parties, which is not satisfied by Plaintiff’s allegations here.
  5           In short, this Motion should be granted, and the Fifth Count of the TAC should
  6   be dismissed with prejudice as to RTF, Gray and Gross.
  7   II.     RELEVANT BACKGROUND
  8           On July 21, 2021, Plaintiff filed his Complaint against 20th Century, RTF and
  9   CAA. Dkt. No. 1. On September 22, 2021, 20th Century, RTF and CAA moved to
 10   dismiss the Complaint under Fed. R. Civ. P. Rule 12(b)(6). Dkt. Nos. 62, 64. On
 11   October 7, 2021, Plaintiff filed his FAC, which added Gray and Gross as defendants
 12   in this lawsuit. Dkt. No. 67.
 13           On October 21, 2021, 20th Century and RTF moved pursuant to Fed. R. Civ.
 14   P. Rule 12(b)(6) to dismiss Plaintiff’s FAC, and CAA moved under Fed. R. Civ. P.
 15   Rules 12(b)(6) and 12(f) to dismiss the FAC and strike Exhibits 12, 14, 15, and 16
 16   attached thereto. Dkt. Nos. 69, 70. On November 19, 2021, Gray and Gross filed a
 17   Notice of Joinder in the Rule 12(b)(6) motion filed by 20th Century and RTF. Dkt.
 18   No. 82. On December 7, 2021, the Court granted, in part, and denied, in part, the
 19   Rule 12 motions filed by the Defendants. Dkt. No. 87.
 20           In its Order of December 7, 2021, the Court dismissed without prejudice
 21   Plaintiff’s Fifth Count against RTF, Gray, and Gross, because Plaintiff failed “to
 22   allege any facts showing an implied contract existed between Plaintiff and RTF, …
 23   James Gray, or Ethan Gross.” Dkt. No. 87, p. 12. As the Court explained, “[w]ithout
 24   allegations that Plaintiff met with RTF … James Gray, or Ethan Gross, Plaintiff lacks
 25   privity and his claim for breach of implied contract against them fails.” Id.
 26           Subsequently, on December 21, 2021, Plaintiff filed a Second Amended
 27   Complaint (“SAC”), but it failed to comport with the Court’s December 7, 2021
 28
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                      MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 8 of 11 Page ID #:3014



  1   Order. See Dkt. Nos. 87 and 91. 3 Accordingly, after counsel for all of the parties
  2   met and conferred on December 30, 2021, Plaintiff stipulated that he would file the
  3   TAC in an effort to rectify at least some of the deficiencies of his pleading. See
  4   Stipulation filed January 4, 2022 (Dkt. No. 92). The Court thereafter granted Plaintiff
  5   leave to file the TAC. See Dkt. No. 93. Thereafter, on January 10, 2022, Plaintiff
  6   filed his TAC. Dkt. No. 94.
  7           However, the TAC still fails to allege privity between Plaintiff and RTF, Gray
  8   or Gross. Instead, Plaintiff alleges that he engaged in purported communications and
  9   meetings involving 20th Century and/or CAA. See, e.g., TAC ¶¶ 23-35. But no such
 10   meetings are alleged in the TAC to have taken place between Plaintiff and RTF, Gray
 11   or Gross. Rather, the TAC alleges that 20th Century and CAA supposedly shared
 12   Plaintiff’s purportedly confidential information with RTF, Gray and Gross and
 13   allegedly had the right and ability to supervise them. TAC ¶¶ 38-39, 84-86. These
 14   allegations fail to satisfy the privity requirement.
 15   III.    PLAINTIFF’S FIFTH COUNT SHOULD BE DISMISSED AS TO THE
 16           MOVING DEFENDANTS BECAUSE NO PRIVITY IS ALLEGED
 17           A.    The Legal Standard for Dismissal Under Rule 12(b)(6)
 18           Under Rule 12(b)(6), a plaintiff’s complaint must allege “sufficient factual
 19   matter” to “state a claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556
 20   U.S. 662, 663 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 570 (2007). The
 21   plausibility standard “asks for more than a sheer possibility that a defendant has acted
 22   unlawfully.” Iqbal, 556 U.S. at 678. Instead, plausibility depends on whether or not
 23   “the pleaded factual content allows the court to draw a reasonable inference that the
 24   defendant is liable for the misconduct alleged.” Id. at 663. “Threadbare recitals of
 25   the elements of a cause of action, supported by mere conclusory statements, do not
 26   3
       Among its other deficiencies, the SAC realleged claims for “Right to Derivate
 27   Works and Attribution of said Works” (Count 4), “False Designation of Origin and
      Reverse Passing Off” (Count 6) and “Unfair Competition (Count 7), all of which had
 28   been dismissed previously by the Court without leave to amend. See Dkt. No. 87.
                                                  3
                      MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 9 of 11 Page ID #:3015



  1   suffice.” Id. at 678; Twombly, 550 U.S. at 555. Thus, allegations that demonstrate a
  2   “mere possibility of misconduct” are insufficient. Iqbal, 556 U.S. at 679.
  3           B.    Plaintiff’s Idea Submission Claim Fails to Allege the Critical
  4                 Element of Privity Between Plaintiff and RTF, Gray or Gross
  5           Privity is a critical element of a breach of implied contract claim in an idea-
  6   submission case. “Generally speaking, ideas are as free as the air…. The general
  7   rule of law is that the noblest of human productions – knowledge, truths ascertained,
  8   conceptions and ideas – become, after voluntary communication to others, free as the
  9   air to common use.” Desny v. Wilder, 46 Cal. 2d 715, 731-32 (1956); Rokos v. Peck,
 10   182 Cal. App. 3d 604, 613 (1986). Consequently, the law has developed so that ideas
 11   can only be protected by a contract between a seller who offers to sell an otherwise
 12   unprotectable idea, and a willing buyer who agrees to pay for use of the idea under
 13   conditions that the buyer is specifically made aware of before the idea is disclosed.
 14   Desny, 46 Cal. 2d at 737-739; Faris v. Enberg, 97 Cal. App. 3d 309, 318-20 (1979).
 15           Thus, to plead a claim for breach of an implied-in-fact contract, a plaintiff must
 16   allege that he or she “prepared the work, disclosed the work to the offeree for sale,
 17   and did so under circumstances from which it could be concluded that the offeree
 18   voluntarily accepted the disclosure knowing the conditions on which it was tendered
 19   and the reasonable value of the work.” Goodness Films, LLC v. TV One, LLC, No.
 20   CV 12-8688-GW(JEMX), 2013 WL 12306439, at *10 (C.D. Cal. Oct. 21, 2013)
 21   (citing Grosso v. Miramax Film Corp., 383 F.3d 965, 967 (9th Cir. 2004)); see also
 22   Mann v. Columbia Pictures, Inc., 128 Cal. App. 3d 628, 647 fn. 6 (1982); Faris, 97
 23   Cal. App. 3d 309, 318 (1979); Klekas v. EMI Films, Inc., 150 Cal. App. 3d 1102,
 24   1114 (1984). Importantly, the defendant must have had an opportunity to reject the
 25   submission knowing the terms under which it was tendered by the plaintiff because
 26   “[u]nless the offeree has an opportunity to reject he cannot be said to accept.” Desny,
 27   46 Cal. 2d at 739; Faris, 97 Cal. App. 3d at 318.
 28           In this context, it is basic that “[p]rivity between the parties is a necessary
                                                   4
                      MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
      129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 10 of 11 Page ID #:3016



   1   element of an implied-in-fact contract claim.” Benay v. Warner Bros. Ent., 607 F.3d
   2   620, 634 (9th Cir. 2010), overruled in part on other grounds by Skidmore as Tr. for
   3   Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) (en banc);
   4   Design Data Corp. v. Unigate Enter., Inc., No. C 12-4131 PJH, 2013 WL 360542, at
   5   *5 (N.D. Cal. Jan. 29, 2013) (“the courts have … held that privity between the parties
   6   is a necessary element of an implied-in-fact contract claim”). This is because, absent
   7   privity with the plaintiff, a defendant cannot have had any “opportunity to reject” the
   8   plaintiff’s submission of his idea. Desny, 46 Cal. 2d at 739. Thus, “the creation of
   9   an implied-in-fact contract ... is of such a personal nature that it is effective only
  10   between the contracting parties.” Rokos, 182 Cal. App. 3d at 617-18. Moreover, as
  11   a result this privity requirement, “[a]ny person not a party to the contract is free to
  12   use the idea without restriction.” Chandler v. Roach, 156 Cal. App. 2d 435, 441
  13   (1957) (citation omitted); see also Mann, 128 Cal. App. 3d at 647 fn. 6.
  14           Here, the TAC alleges that Plaintiff submitted his Cosmic Force script to 20th
  15   Century and CAA (TAC ¶¶ 23-35), and that “[20th Century] and CAA have shared
  16   Plaintiff’s confidential business information with” RTF, Gray and Gross, who
  17   thereafter allegedly “used Plaintiff’s confidential information for purposes other than
  18   evaluating a business opportunity with Plaintiff, namely the theft of Plaintiff’s
  19   copyrighted work…” TAC ¶ 84. Plaintiff further alleges that “[20th Century] and
  20   CAA executed contracts with” RTF, Gray and Gross “in which Defendants [20th
  21   Century] and CAA had the right and ability to supervise” them. Id. ¶¶ 38-39, 85-86.
  22   These allegations, however, utterly fail to aver any privity between Plaintiff himself
  23   and RTF, Gray or Gross. As this Court already observed, “[w]ithout allegations that
  24   Plaintiff met with RTF … James Gray, or Ethan Gross, Plaintiff lacks privity and his
  25   claim for breach of implied contract against them fails.” Dkt. No. 87, p. 12. 4
  26
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       4
         In addition, Plaintiff’s TAC perplexingly cites a handful of legal authorities. Of
       course, it is improper for a pleading to allege legal conclusions, but these case
  28   citations are also irrelevant as none of the cited cases concern issues of privity or
       implied contracts for the use of ideas. See TAC ¶¶ 85-86 (citing Marvin v. Marvin,
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                       MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
       129659199.1
Case 2:21-cv-05890-PA-SK Document 96 Filed 01/24/22 Page 11 of 11 Page ID #:3017



   1           Accordingly, RTF, Gray and Gross should be dismissed with prejudice from
   2   Plaintiff’s Fifth Count of the TAC. Additionally, further leave to amend the Fifth
   3   Count should be denied. Plaintiff has now had multiple opportunities to amend his
   4   pleading, and thus it is clear no facts exist supporting his breach of implied contract
   5   claims against the Moving Defendants.
   6   IV.     CONCLUSION
   7           For the reasons stated above, this Motion should be granted in full and without
   8   leave to amend, and the Fifth Count should be dismissed with prejudice as to
   9   defendants RTF, Gray and Gross.
  10
  11                                                RESPECTFULLY SUBMITTED,
       Dated: January 24, 2022
  12                                                FOX ROTHSCHILD LLP
  13                                                /S/ DAVID ARONOFF
                                                    David Aronoff
  14                                                Joshua Bornstein
                                                    Attorneys for Defendants
  15                                                20TH CENTURY STUDIOS, INC.,
                                                    RT FEATURES U.S., LLC, JAMES
  16                                                GRAY, and ETHAN GROSS
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  28   18 Cal. 3d 660 (1976); Div. of Labor Law Enforcement v. Transpacific Trans. Co.,
       69 Cal. App. 3d 268 (1977); Friedman v. Friedman, 20 Cal. App. 4th 876 (1993)).
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                       MOTION TO DISMISS FIFTH COUNT AS TO RTF, GRAY AND GROSS
       129659199.1
